                                    Case 2:16-cv-01206-JCM-EJY Document 343
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                                1    Cliff W. Marcek, Esq.
                                     Nevada Bar No. 5061
                                2    CLIFF W. MARCEK, P.C.
                                     411 E. Bonneville Ave
                                     Las Vegas, NV 89101
                                3    Telephone : (702) 366-7076
                                     Facsimile : (702) 366-7078
                                4    Email      : cwmarcek@marceklaw.com

                                5    Attorney for Plaintiffs
                                     SARA RODRIGUEZ, parent and guardian
                                6    of JACOB WYMAN

                                7                          UNITED STATES DISTRICT COURT
                                                                DISTRICT OF NEV ADA
                                8

                        CX)     9
                                     WESCO INSURANCE COMPANY, as subrogee I CASE NO. 2:16-cv-01206-JCM-EJY
                        1:5          of its insured, NICKELS AND DIMES
                        '710
                                     IN CORPORATED,
                        '°'°                                                    STIPULATION AND ORDER TO
         ~              ~11                                    Plaintiff,
         (Y')
         w      .-t
                        N
                        0            vs.                                        EXTEND TIME TO FILE A JOINT
cr t:;          8       t::,12                                                  PRETRIAL ORDER
V) ::>
w  U)
                °'CX)   =ti>         SMART INDUSTRIES CORPORATION, dba
':ii.,   w'      ~      -~     13    SMART INDUSTRIES CORP., MFG., an Iowa
w > <                    II)
~ ~ >                    g           corporation,
< W W                   LL     14
:E ::1
     ....
                z'•                                            Defendants.
   . >           V)
                                     JENNIFER WYMAN, individually; BEAR
~ ~ ~
u.. Z           w 0
                        ,e 15        WYMAN, a minor, by and through his natural CONSOLIDATED WITH CASE
u.. 0           > ......
!:j           16                     parent JENNIFER WYMAN; JENNIFER            NO. 2: l 6-cv-02378-JCM-CWH
\.)
         a)
           '°
         WJ~
             . <
                 V)       I

                                     WYMAN and VIVIAN SOOP, as Joint Special
         .-4
         ;              N17          Administrators of the ESTATE OF CHARLES
                        R            WYMAN; and SARA RODRIGUEZ, natural
                        ';' 18       parent and guardian ad litem of JACOB
                         C
                         0
                        .s:          WYMAN,
                        a..19                                    Plaintiffs,
                                     VS.
                               20
                                       SMART INDUSTRIES CORPORATION dba
                               21      SMART INDUSTRIES CORP., MFG, an Iowa
                               22
                                    II Corporation; HI-TECH SECURITY INC, a
                                       Nevada Corporation; WILLIAM ROSEBERRY;
                               23      BOULEYARD VENTURES, LLC, a Nevada
                                       Corporation; DOES I through V; DOES 1
                               24      through 10; BUSINESS ENTITIES I through V;
                                       and ROE CORPORATIONS 11 through 20,
                               25   11 inclusive,
                                                                 Defendants.
                               26

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                                                                           Pagel of 3
                               Case 2:16-cv-01206-JCM-EJY Document 343
                                                                   344 Filed 10/15/21 Page 2 of 5

                                    HI-TECH SECURITY          INC;    and   WILLIAM
                                    ROSEBERRY,
                                                               Third-Party Plaintiffs,
                           2
                                    vs.
                           3
                                NICKELS AND DIMES INCORPORATED,
                           4 11                     Third-Party Defendant.

                           5   11           COMES NOW, Plaintiffs, SARA RODRIGUEZ parent and guardian of JACOB

                           6        WYMAN, by and through their counsel of record, Cliff W. Marcek, Esq and Thomas

                           7        Schwartz, Esq.; Jennifer Wyman, Bear Wyman and the Estate of Charles Wyman by and

                           8 11 through their attorney of record, Tracy A. Eglet, Esq. of EGLET ADAMS LAW OFFICE;

                           9 11 Smart Industries Corporation, by and through its attorney of record William Pruit, Esq of
                 CX)
                 ......
                 ~ 1o 11 BARRON AND PRUITT; Wesco Insurance Company by and through its attorney Peter

    ~            '°~ 11        11 Duboswky,     Esq. and hereby agree and stipulate to extend the time to file the Joint Pretrial
    cv,  N'
0  t; 8 t::,12 II Order.
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             0    .,,,
                               11           On September 16, 2021, the Honorable Judge James C. Mahan filed a Minute Order
~   'c(      < u
 ~ ~ ~ af 14 11 stating the parties were to submit a Joint Pretrial Order in compliance with Local Rule 16-4
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         re 15 11 within 30 days. The Joint Pretrial Order is due October 18, 2021.
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,~           >.....
             Ul J, 16          II           The parties have conducted extensive discovery and there are many documents to
-- w. .J
       <         '°
                 CV)

    :::          N'l 7         11 review.    In addition, there have been numerous depositions, written discovery and each side
    'll;f"       0
                 ~ 18          11   has disclosed expert witnesses. Due to the amount of potential evidence, the parties need more
                  C
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                 f        19 11 time to prepare and file the Joint Pretrial Order.

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                                                                               Page 2 of3
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                             1 11           The parties are circulating drafts for the joint pretrial order, but it is unlikely will be

                             2 11 completed by Monday, October 18, 2021.

                             3 11           The parties above request that the court approve of this stipulation and order giving the

                             4 11 parties an additional two weeks to submit the Joint Pretrial Order.

                             5
                                    DATED this 15 day of October, 2021.                DA TED this 15 day of October, 2021.
                             6

                             7      ls/Cliff... W Marcek                               ls/William Pruit
                                                                                       WILLIAM PRUIT, ESQ.
                                    CLIFF W. MARCEK, ESQ.                              Nevada Bar No. 6783
                             8
                                    Nevada Bar No. 5061                                JOSEPH R. MESERVY, ESQ.
                                    CLIFF W. MARCEK, P.C.                              Nevada Bar No. 14088
                    CX)      9                                                         BARRON & PRUITT, LLP
                                    411 E. Bonneville Ave.
                    ~               Las Vegas, Nevada 89101                            3 890 West Ann Road
                    r-;- 10         Attorneys for Plaintiffs                           North Las Vegas, Nevada 89031
                    ~
        0           ~               SARA RODRIQUEZ, parent and guardian                Attorneys for Defendant
        °'
        (Y')
                    (Y')ll
                    -N
                                    Of JACOB WYMAN                                     SMART INDUSTRIES CORPORATION
        w .... 0
g~             ~ t:,12
                                                                                       DATED this 15 day of October, 2021.
w       V) 0\
           CX)      ="              DATED this 15_ day of October, 2021.
~ >
W
  w' D E 13
     < •-
~< <w >< 0~
~ :::t         Z u..14              ls/Tracy A. Eglet                                  ls/Peter Duboswkv
                                                                                       PETER DUBOSWKY, ESQ.
    .   ~       . <>                TRACY A. EGLET, ESQ.
:::,.
>   zw < ~
u..ZcJ>,-....
               V)
                            15      Nevada Bar No. 6419                                Nevada Bar No. 4972
u.. 0          >w   O               BRITTNEY R. GLOVER, ESQ.                           AMANDA VOGLER-HEATON, ESQ.
!::I co             ,....                                                              Nevada Bar No. 13609
               ~
                                    Nevada Bar No. 15412
"u.i                ~16             EGLETADAMS                                         DUBOWSKY LAW OFFICE, CHTD
        ..... ..J   (Y')
                                    400 South Seventh Street, Suite 400                300 South Fourth Street, Suite 1020
        ~
                    gNl 7           Las Vegas, Nevada 89101
                                    Attorneys for Plaintiffs
                                                                                       Las Vegas, Nevada 89101
                                                                                       Attorneys for WESCO INSURANCE CO
                     "18
                     C              JENNIFER WYMAN, BEAR WYMAN,· and
                    _g              ESTATE OF CHARLES WYMAN
                    a..19
                                                                                   IT IS SO ORDERED October 15, 2021.
                            20

                            21                                                                      STATES DISTRICT JUDGE
                                                                                                   JAMES C. MAHAN
                            22

                            23

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                            27
                            28
                                                                                 Page 3 of3
                Case 2:16-cv-01206-JCM-EJY Document 343
                                                    344 Filed 10/15/21 Page 4 of 5


 Cliff Marcek

 From:                            Peter Dubowsky <peter@dubowskylaw.com>
 Sent:                            Friday, October 15, 2021 10:24 AM
 To:                              Cliff Marcek; Brittney Glover; MaryAnn Dillard; dcoil@ggrmlawfirm.com; Joseph Meservy
 Cc:                              Kiera Buckley
 Subject:                         RE: Stipulation



You have my authorization.



Peter Dubowsky, Esq.
DUBOWSKY LAW OFFICE, CHTD.
300 South Fourth Street
10th Floor- Suite 1020
Las Vegas, NV 89101
Ph. (702) 360.3500
Fx. (702) 360.3515
www.dubowskylaw.com



               DUBOWSKY
               LAW OFFICE,CHTD.

From: Cliff Marcek
Sent: Friday, October 15, 202110:20 AM
To: Brittney Glover; MaryAnn Dillard; dcoil@ggrmlawfirm.com; Joseph Meservy; peter@dubowskylaw.com
Cc: Kiera Buckley
Subject: RE:Stipulation

Brittney, MaryAnn, Joseph and Peter:

Attached is the proposed stipulation and order to extend the deadline for the Joint Pretrial Order. Please review and
sign or if the court will allow electronic signatures, give me permission to submit it.
I sent it in MSWord, but don't change the document. If you have any changes let me know and I will make them.

We should file this today so get back to me asap. Thanks.

CLIFF W. MARCEK, P.C.
411 E. Bonneville, Suite 390
Las Vegas, NV 89101
Telephone: (702) 366-7076
Facsimile: (702) 366-7078
Email:      cwmarcek@marceklaw.com (Firm)
Board Ce,tified Personal Injury Law Specialist
American Association of Justice
                  Case 2:16-cv-01206-JCM-EJY Document 343
                                                      344 Filed 10/15/21 Page 5 of 5


 Cliff Marcek

 From:                                  MaryAnn Dillard <MDillard@lvnvlaw.com>
 Sent:                                  Friday, October 15, 2021 10:58 AM
 To:                                    'Brittney Glover'; Cliff Marcek; 'dcoil@ggrmlawfirm.com'; Joseph Meservy;
                                        peter@dubowskylaw.com
 Cc:                                    Kiera Buckley
 Subject:                               RE: Stipulation



 Please take David Barron off the signature block for our office and replace his name with William H. Pruitt, Bar#
 6783. After that change is made, Mr. Pruitt gives permission to use his e-signature on the stipulation. Thanks,

MaryAnn Dillard IP aralegal
barro n pruitt. com I mdi l la rel (<ii Ivnvlaw. com
P 702.870.394olf 702.870.3950
3890 West Ann Road
North Las Vegas NV 89031

Barron & Pruitt, LLP
             LAWYERS

From: Brittney Glover [mailto:bglover@egletlaw.com]
Sent: Friday, October 15, 202110:46 AM
To: Cliff Marcek <cwmarcek@marceklaw.com>; MaryAnn Dillard <MDillard@lvnvlaw.com>; 'dcoil@ggrmlawfirm.com'
<dcoil@ggrmlawfirm.com>; Joseph Meservy <JMeservy@lvnvlaw.com>; peter@dubowskylaw.com
Cc: Kiera Buckley <kbuckley@egletlaw.com>
Subject: RE: Stipulation

You have my permission toe-sign. Thanks.

Brittney Glover


From: Cliff Marcek <cwmarcek@marceklaw.com>
Sent: Friday, October 15, 202110:20 AM
To: Brittney Glover <bglover@egletlaw.com>; MaryAnn Dillard <MDillard@lvnvlaw.com>; 'dcoil@ggrmlawfirm.com'
<dcoil@ggrmlawfirm.com>; Joseph Meservy <JMeservy@lvnvlaw.com>; peter@dubowskylaw.com
Cc: Kiera Buckley <kbuckley@egletlaw.com>
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I sent it in MSWord, but don't change the document. If you have any changes let me know and I will make them.

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                                                                 1
